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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

 THE TRUSTEES OF PRINCETON                  :
 UNIVERSITY,                                :      Civil Action No. 3:19-cv-21248-BRM-LHG
                                            :
                      Plaintiff,            :
                                            :
                v.                          :
                                            :
 TOD WILLIAMS BILLIE TSIEN                  :
 ARCHITECTS, LLP; JACOBS                    :
 ARCHITECTS/ENGINEERS, INC.; and            :
 JACOBS CONSULTANCY INC.,                          SCHEDULING ORDER
                                            :
                                            :
                      Defendants.
                                            :
 ____________________________               :
                                            :
 TOD WILLIAMS BILLIE TSIEN                  :
 ARCHITECTS, LLP,                           :
                                            :
               Third-Party Plaintiff,       :
                                            :
               v.                           :
                                            :
 ARUP USA, INC. and F.J. SCIAME             :
 CONSTRUCTION COMPANY, INC.,                :
                                            :
                Third-Party Defendants.


         THIS MATTER having come before the Court on September 29, 2020 for a status
 conference; Sarah B. Biser, Esq., and Philip Langer, Esq., of Fox Rothschild LLP, appearing on
 behalf of Plaintiff; John Becker, Esq., of Thompson Becker LLC, and Ellen Corbo, Esq., of
 Burns White LLC, appearing on behalf of Defendant Tod Williams Billie Tsien Architects LLP;
 Stuart Lederman, Esq., of Riker, Danzig, Scherer, Hyland & Perretti LLP, and Kathleen Barnes,
 Esq., of Watt, Tieder, Hoffar & Fitzgerald LLP, appearing on behalf of Defendant Jacobs
 Architects/Engineers, Inc. and Jacobs Consultancy Inc.; Loryn Riggiola, Esq., and Jason Kosek,
 Esq., of Zetlin & De Chiara LLP, appearing on behalf of Defendant ARUP USA, Inc.; Ira
 Schulman, Esq., and Emily Anderson, Esq., of Sheppard, Mullin, Richter & Hampton LLP,
 appearing on behalf of Defendant F.J. Sciame Construction Company, Inc.; the Court having set
 certain deadlines with the participation of counsel; and for good cause shown,

        IT IS on this 22nd day of October, 2020,
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        ORDERED that the parties shall exchange written responses to interrogatories and
 discovery demands by no later than October 30, 2020; and it is further

        ORDERED that the parties shall discuss whether they agree to mediate; and it is further

       ORDERED that the parties shall execute an ESI protocol and exchange productions of
 documents by no later than October 30, 2020; and it is further

        ORDERED that parties shall provide the name and subject matter of each affirmative
 expert no later than December 1, 2020; and it is further

        ORDERED that a telephone status conference will be held before the undersigned on
 November 24, 2020 at 10:00 a.m. Counsel for Defendant Tod Williams Billie Tsien Architects,
 LLP is to initiate the call; and it is further

        ORDERED that to the extent any dates herein conflict with the Pretrial Scheduling
 Order dated May 13, 2020, the dates herein control; and it is further

        ORDERED that since all dates set forth herein are established with the assistance and
 knowledge of the parties, there will be no extensions except for good cause shown and by leave
 of Court, even with consent of all parties; and it is further

        ORDERED that the Court may, from time to time, schedule conferences as may be
 required, either on its own motion or at the request of counsel.




                                                           ______________________________

                                                           LOIS H. GOODMAN
                                                           United States Magistrate Judge




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